Case 3:16-md-02738-MAS-RLS Document 32119 Filed 04/30/24 Page 1 of 2 PageID: 181381




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                                                     April 30, 2024
    VIA ECF ONLY

    The Honorable Rukhsanah L. Singh, U.S.M.J.
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Courtroom 7W
    Trenton, New Jersey

             Re:        In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                        and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)

    Dear Judge Singh:

            On April 23, 2004, we wrote to the Court on behalf of Beasley Allen regarding proposed
    Defendant’s Exhibit 5. [ Docket No. 32046] Defendant’s request that the entire Exhibit, without
    redaction, be admitted into evidence. At the Courts’ direction we attempted to resolve this with
    opposing counsel, but to date they have not consented to that exhibit’s admission. If the Courts so
    desire, we can address this Friday.

             I thank you for your time and continued attention to this matter.

                                                               Respectfully submitted,

                                                               /s/ Jeffrey M. Pollock
                                                               JEFFREY M. POLLOCK

             Enclosures
Case 3:16-md-02738-MAS-RLS Document 32119 Filed 04/30/24 Page 2 of 2 PageID: 181382




    April 30, 2024
    Page 2
    cc: Hon. John C. Porto, P.J. Civ.
        Counsel of record (Via ECF)
